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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION
                                                                                   2020 FEB
                                                                                              18   4j 1!:
                                                                                                            i3
 UMG RECORDINGS, INC., et al.,                          §
                                                        §
 V.                                                     §   CAUSE NO. A-17-CA-36-AE
                                                        §
 GRANDE COMMUNICATIONS                                  §
 NETWORKS, LLC                                          §

       ORDER CANCELLING CURRENT JURY SELECTION AND RETAiNING
                  TELEPHONE CONFERENCE SETTING

       Pursuant to the District Judge's Order setting this matter for trial to begin on Tuesday,

September 8, 2020, and referring this matter for jury selection, the undersigned hereby SETS this

matter for july selection at 9:30 a.m. on Tuesday, September 8, 2020, in Courtroom Three on the

fourth floor of the Federal Courthouse located at 501 W. 5th Street, Austin, Texas 78701.

       Furthermore, to address the undersigned's jury selection process, the telephone conference

previously set for Friday, February 21,2020, at 11:00 a.m., remains set for the same time and date.

The parties are instructed to call (866) 390-1828 with access code 6054147 on the designated date

and time.

                         8th
       SIGNED this   1         day of February, 2020.




                                                ANDREW W. AUSTIN
                                                UNITED STATES MAGISTRATE JUDGE
